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                                           September 28, 2023

VIAECF
                                                                  MEMO ENDORSED
Hon. Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, NY 10007

       Re:     United States v. Robert Menendez et al., Case No. 1:23-cr-00490-SHS

Dear Judge Stein:

       We write on behalf of defendant Senator Robert Menendez to request that Senator Menendez be
excused from appearing personally at the status conference in this case that is scheduled for Monday,
October 2, 2023 , at 2:30 p.m.

       Senator Menendez had his initial appearance and arraignment on the Indictment yesterday before
Magistrate Judge Wang. At that initial appearance, Judge Wang excluded time under the Speedy Trial Act
through October 2, 2023 , and released Senator Menendez on a personal recognizance bond. Immediately
afterwards, Senator Menendez returned to Washington, D.C. and has been attending to Senate business.

         Federal Rule of Criminal Procedure 43(6)(3) provides that " [a] defendant need not be present" when
" [t]he proceeding involves only a conference or hearing on a question of law." In this instance, because of
the need for Senator Menendez to be present in Washington, D.C. on Monday for potential Senate votes
and other Senate business, there is particular justification for excusing his personal appearance.
Accordingly, Senator Menendez respectfully requests that he be excused from appearing personally at
Monday ' s conference.

        We have conferred with the government, and AUSA Eli Mark has informed us that the government
takes no position on this request.

                                             Respectfully,



cc: All counsel (via ECF and Email)      Seth C. Farber
 Defendant Robert Menendez's request to be excused from attending the conference on October 2 is
 granted pursuant to Fed. R. Crim. P. 43(b)(3).

 Dated: New York, New York                               SO ORDERED:
        September 29, 2023


                                                          /4y.y/.~.D.J.
